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               Exhibit 8.2
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              Infringement Claim Chart for U.S. Pat. No. US10491748B1 v. YouTube (“Defendant”)


    Claim11                                               Evidence
11. A method for The YouTube customer service platform performs a method for assigning
assigning        communications.
communications
, comprising:    For example, the YouTube customer service platform assigns incoming calls (including
                 SMS and live chats) to call center agents.




                                                    1
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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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                  Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com

receiving a       The YouTube customer service platform receives multiple respective communications
plurality of      that are to be associated with a respective resource selected from multiple resources.
respective
communications    For example, the YouTube customer service platform receives multiple incoming calls
for association   (e.g. including phone calls, SMS and live chats) from customers requesting support or
with a            information. Each incoming call is to be assigned, by the customer service platform, to a
respective        call center agent who can help the customer with the customer’s request.
resource
selected from a
plurality of
resources;




                                                   3
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                               4
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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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                   Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com

identifying a      The YouTube customer service platform identifies multiple resources that are available
plurality of       for association with a respective communication and are capable of handling the
resources          respective communication. Each available resource has a limited quantitative capacity
available for      for association with multiple communications and an availability state.
association with
a respective       For example, the CCAI Platform i.e., YouTube customer service platform uses one or
communication      more of interactive voice response (e.g. language), caller identification (e.g. user
and capable of     account profile) and customer relationship management information to determine the
handling the       nature of a call and thereby, the required skill of a call center agent to handle the call.
respective         Based on the required skill set, the customer service platform identifies call center
communication,     agents (i.e. resources) who possess the skill set and are therefore capable of handling
each available     the call. Those identified agents who are immediately, or will soon be, available to handle
resource having    the call are deemed by the customer service platform to be available to handle the call.
a limited          Each call center agent is typically handling only one call at any moment but can be
quantitative       assigned to multiple calls that are waiting in a queue, the size of which is dependent on
capacity for       various factors (e.g. call volume during peak season).
association with
multiple
communications
and an
availability
state;




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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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                   Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com

calculating a      The YouTube customer service platform calculates a respective score associated with
respective score   each available resource dependent on the availability state of a respective available
associated with    resource.
each available
resource           For example, for each available agent, the YouTube customer service platform
dependent on       determines an estimated wait time that the caller will remain in a queue i.e., wait time
the availability   before the agent can take the call (e.g. to prioritize urgent communications).
state of a
respective
available
resource;




                                                    9
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                               10
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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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                   Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com
estimating an      The YouTube customer service platform estimates an expected economic value to be
expected           obtained by associating each respective communication with each respective available
economic value     resource. The estimated economic value is dependent on at least the score and a
to be obtained     respective communication-content dependent value function of an outcome of a
by associating     respective communication associated with a respective available resource.
each respective
communication      For example, for a given call, the YouTube customer service platform determines, from
with each          the group of available agents, an appropriate agent for handling the call. This
respective         determination is dependent on the estimated wait time before the call is routed to the
available          particular agent and how well the requirements of the call match the skill profile of the
resource,          particular agent.
dependent on at
least the score
and a respective
communication-




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content
dependent value
function of an
outcome of a
respective
communication
associated with
a respective
available
resource; and




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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com




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                   Source: Contact Center AI (CCAI) Platform | Google Cloud

assigning each     The YouTube customer service platform assigns each of the multiple respective
of the plurality   communications to one of the multiple resources based on at least the estimated
of respective      expected economic value to be obtained by associating each respective communication
communications     with each respective resource.
to one of the
plurality of       For example, based on the estimated expected economic value by Customer satisfaction
resources based    (CSAT) survey, the YouTube Customer Service system selects a call center agent to
on at least the    handle the call and connects that agent with the caller.
estimated
expected
economic value
to be obtained
by associating
each respective
communication
with each
respective
resource.




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Source: How to Contact YouTube TV Customer Support in 60 Seconds! - YouTube




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Source: How does Google Cloud Contact Center AI work? - WebsiteBuilderInsider.com




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Source: Contact Center AI (CCAI) Platform | Google Cloud




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